Case 2:05-cr-20324-.]PI\/| Document 1 Filed 08/29/05 Page 1 of 2 Page|D 1

 

PROB 22 DOCKET NUMBER (Trqor-

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TRANSFER OF JURISD|CT|ON 2294-CR-U§E6 - 3-DKW

 

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NAME AND ADDRESS OF PROBATIONEFUSUPERV|SED DISTR|CT
RELEASEE
. Utah

Thomas Edward Plnkney, Sr.

7708 Thunderstone Circ|e South D'V'S'°N

|Viemphis, TN 38125 Centra|
NAME OF SENTENC|NG JUDGE
David K. Winder
DATES OF FROM TO
§§:“EARVIS!ON May s, 2005 May 5, 2010

 

 

 

 

OFFENSE

Distribute and Possession with intent to Distribute Cocaine [21 U.S.C. § 841(a)(‘i);
Conspiracy [21 U.S.C. § 846]

 

PART 1 - ORDER TRANSFERR|NG JUR|SD|CTION

 

uNlTED sTATES olsTRlcT couRT FOR THE DlsTRicT oF Utah Centra!

|T iS HEREBY ORDERED that pursuant to 18 U.S.C. § 3605 thejurisdiction of the defendant named above
be transferred with the records of the Court to the United States District Court for the District of Tennesseel
Western upon that Court's order of acceptance ofjurisdiction. This Court hereby expressly consents that
the period of probation or supervised release may be changed by the District Court to which this transfer
is made without further inquiry of this court.

 

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bare Davr'd K. Winder
Um'ted States District Jucige

 

PART 2 - ORDER ACCEPT|NG JUR|SD|CT|ON

 

UN|TED STATES D|STR|CT COURT FOR THE D|STRICT OF Tel`ll`leSSee WBStel’n
|T |S HEREB¥ ORDERED thatjurisdiction over the above-named defendant be accepted and assumed

by this Court from and after the entry of this order.

ynited States District Judge

 

 

 

 

 

 

 

C/y

This document entered on the docket heat |n compliance
with Fiufe 55 and/or 32(b) FRCrP on 523 "Q:}

TATESDIRSTICT OURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l in
case 2:05-CR-20324 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on MeCalla
US DISTRICT COURT

